Case 2:19-cv-05209-GW-KS Document 29 Filed 02/25/20 Page 1 of 8 Page ID #:335



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       COUNTY OF LOS ANGELES, et al.
   7

   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10

  11 KRYSTAL REYES, as Guardian ad              CASE NO.: 2:19-cv-5209-GW-KS
  12 Litem for I.R., a minor,
                                                NOTICE OF FIRST EX PARTE
  13               Plaintiff,                   APPLICATION; FIRST EX PARTE
  14         vs.                                APPLICATION FOR A
                                                PROTECTIVE ORDER STAYING
  15   COUNTY OF LOS ANGELES, LOS               THE DEPOSITIONS OF
  16   ANGELES COUNTY PROBATION                 DEFENDANTS OFFICER PUENTE
       DEPARTMENT, LOS ANGELES                  AND OFFICER STANCE; FIRST
  17   COUNTY CHIEF PROBATION                   EX PARTE APPLICATION FOR A
  18   OFFICER TERI L. McDONALD,                PROTECTIVE ORDER STAYING
       DEPUTY PROBATION OFFICER                 THE DEPOSITION OF
  19   PUENTE, DEPUTY PROBATION                 DEFENDANT COUNTY OF LOS
  20   OFFICER STANCE, and DOES 1 TO            ANGELES’ RULE 30(B)(6)
       10,                                      WITNESSES
  21            Defendants.
  22                                            [OPPOSED]
  23                                            [DISCOVERY MATTER]
  24
                                                Current discovery cut-off: 3/6/2020
  25                                            Trial date: 6/14/2020
  26

  27   ///

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       ///


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Case 2:19-cv-05209-GW-KS Document 29 Filed 02/25/20 Page 2 of 8 Page ID #:336



   1         TO    THE       COURT     AND     TO     THE     PLAINTIFF     AND    HER
   2   ATTORNEYS OF RECORD:
   3         PLEASE TAKE NOTICE that on February 25, 2020, Defendants
   4 COUNTY OF LOS ANGELES, et al. (“Defendants”) will apply ex parte for a

   5 protective order staying the depositions of Defendants Officer Puente and Officer

   6 Stance; and an ex parte application staying the depositions of Defendants’ Rule
       30(b)(6) witnesses.
   7
             This ex parte application is based on the notice of application, the
   8
       memorandum of points and authorities, the declaration of Jack F. Altura and the
   9
       exhibits attached thereto, and upon further evidence and oral argument as allowed
  10
       by the Court.
  11
       Plaintiff’s counsel’s contact information
  12   Justin E. Sterling                        Erin Darling
  13   Law Offices of Justin Sterling            Law Offices of Erin Darling
       15760 Ventura Boulevard, Suite 700        3435 Wilshire Boulevard, Suite 2910
  14   Encino, CA 91436                          Los Angeles, CA 90010
  15   justin@sterlingdefense.com                erin@erindarlinglaw.com
       Tel (818) 995-9452                        Tel (323) 736-2230
  16
       Statement of Plaintiff’s position on ex parte application
  17
             Plaintiff’s counsel will oppose this ex parte application.
  18
       Plaintiff’s counsel was given notice of the instant ex parte application
  19
             On February 25, 2020, Plaintiff’s counsel was given notice via email and
  20
       over the telephone of the instant ex parte application. See Declaration of Jack F.
  21
       Altura ¶¶ 4–5.
  22

  23
       Dated: February 25, 2020                      IVIE, McNEILL & WYATT
  24

  25                                          By:    /s/ Jack F. Altura
                                                     RICKEY IVIE,
  26
                                                     JACK F. ALTURA
  27                                                 Attorneys for Defendants
                                                     COUNTY OF LOS ANGELES, et al.
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                                              -2-
Case 2:19-cv-05209-GW-KS Document 29 Filed 02/25/20 Page 3 of 8 Page ID #:337



   1               MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         Defendants seek a protective order staying the depositions of Officer Puente
   4   and Officer Stance noticed for February 27, 2020. Defendants timely objected to
   5   the deposition notices on the ground that their counsel is unavailable on that date.

   6   Soon after serving objections, defense counsel offered a date for the depositions for
       following week on March 6, 2020.             Plaintiff’s counsel is insistent that the
   7
       depositions proceed on February 27, 2020, even though they can articulate no
   8
       reasonable ground for refusing March 6, 2020.
   9
             Defendants also seek a protective order staying the deposition of Defendant
  10
       County of Los Angeles Rule 30(b)(6) witness, which has been noticed for March 3,
  11
       2020. Defendants received actual notice of the deposition on February 20, 2020—
  12
       a mere eight business before the noticed date. Eight business days before a Rule
  13
       30(b)(6) deposition does not provide reasonable written notice because the
  14
       producing party must identify, designate, educate and otherwise prepare the
  15 witness for the deposition. Moreover, defense counsel informed Plaintiff’s counsel

  16 that defense counsel was extraordinarily busy in February and the first week of

  17 March yet nonetheless waited until the last weeks before the discovery cut-off to

  18 notice the Rule 30(b)(6) deposition.           Plaintiff’s counsel’s conduct is simply
  19 unreasonable.

  20         Notably, the proofs of service for all three deposition notices are presumed
  21 invalid because the dates stamped by the post office on the envelopes are more

  22 than one day after the dates on the proofs of service.

  23         Accordingly, the Court should grant these ex parte applications and stay the

  24 depositions of Officer Stance, Officer Puente, and the Rule 30(b)(6) witness.

  25
       II.   ARGUMENT
       A.    Ex Parte Relief is Appropriate in this Instance
  26
             The showing necessary to be accorded ex parte relief is: “First, the evidence
  27
       must show that the moving party’s cause will be irreparably prejudiced if the
  28
       underlying motion is heard according to regular noticed motion procedures.
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Case 2:19-cv-05209-GW-KS Document 29 Filed 02/25/20 Page 4 of 8 Page ID #:338



   1   Second, it must be established that the moving party is without fault in creating the
   2   crisis that requires ex parte relief, or that the crisis occurred as a result of excusable
   3   neglect.” Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488, 492
   4   (C.D. Cal. 1995).
   5         Ex parte relief is appropriate.          First, Defendants will be irreparably

   6 prejudiced if this ex parte application is heard according to a regularly noticed
       motion schedule because Plaintiff gave less than 28 days’ notice for the
   7
       depositions. Therefore, even if Defendants filed a motion on the date of receiving
   8
       notice, that motion would not be heard before the depositions.
   9
             Second, Defendants are not at fault in creating the situation that requires ex
  10
       parte relief. Defense counsel immediately informed Plaintiff’s counsel that
  11
       defense counsel was unavailable on the date noticed for the depositions of Officer
  12
       Stance and Officer Puente and soon thereafter offered a date for their depositions
  13
       on the week following the noticed date. Plaintiff’s counsel simply refuses to
  14
       accept that date.
  15         Moreover, Plaintiff waited until the very end of discovery to notice
  16   Defendant’s Rule 30(b)(6) witness and gave Defendants only eight business days’
  17   notice to identify, designate, prepare, educate, and produce the Rule 30(b)(6)
  18 witnesses on seven categories of questions. Eight business days’ notice is simply

  19 an insufficient amount of time for a Rule 30(b)(6) witness.

  20         Accordingly, ex parte relief is appropriate.
  21   B.    The Court Should Stay the Depositions of Defendant Officer Puente and
             Officer Stance
  22
             The Court should stay the depositions of Defendant Officer Puente and
  23
       Officer Stance because defense counsel promptly objected to the deposition notices
  24
       on the ground that defense counsel was unavailable. Within a reasonable amount of
  25
       time after objecting, another date for the depositions was offered.
  26
             Federal Rule of Civil Procedure 30(b)(1) provides that a party may take the
  27
       deposition of any person upon reasonable notice. A party whose deposition has
  28   been noticed may seek a protective order under Rule 26(c), including an order that

                                                -2-
Case 2:19-cv-05209-GW-KS Document 29 Filed 02/25/20 Page 5 of 8 Page ID #:339



   1   the deposition take place only at a designated time or place. Anoruo v. Shinseki,
   2   No. 2:12-CV-01190-JCM, 2013 WL 4546795, at *2 (D. Nev. Aug. 27, 2013). If
   3   the noticing party refuses to reschedule a properly noticed deposition, it is
   4   incumbent on the party whose deposition is noticed to move for a protective order
   5   staying the deposition. Id. (citing Anderson v. Air West, Inc., 542 F.2d 1090, 1093

   6   (9th Cir. 1976)).
             Good cause exists to issue a protective order staying the depositions of
   7
       Officer Puente and Officer Stance noticed for February 27, 2020. Defense counsel
   8
       received actual notice on February 5, 2020 and served objections to the deposition
   9
       notice on the ground of counsel unavailability on February 6, 2020. Declaration of
  10
       Jack F. Altura (“Altura Decl.”) ¶¶ 7, 10; exhibit E. The deposition notices were
  11
       purportedly served on January 31, 2020, but the post office stamp on the envelope
  12
       shows February 3, 2020. Altura Decl. ¶¶ 8, 9; exhibits C, D. The proofs of service
  13
       are therefore presumed invalid.     See Cal. Code Civ. Proc. 1013a; Iverson v.
  14
       Superior Court, 167 Cal. App. 3d 544, 548 (1985); In re R.R., 187 Cal. App. 4th
  15   1264, 1276 (2010).
  16         On February 12, 2020, Plaintiff served a “response” to Defendants’
  17   objections taking the preposterous position that any one of the “nineteen lawyers”
  18   (there are fourteen lawyers at the Los Angeles office) could defend the
  19   depositions.1 Altura Decl. ¶ 11; exhibit F.
  20         On February 13, 2020, defense counsel offered March 6, 2020 for Officer
  21 Puente’s deposition and on February 23, 2020, defense counsel confirmed Officer

  22 Stance for March 6, 2020.       Altura Decl. ¶¶ 12, 15; exhibits G, I. (Plaintiff’s
  23

  24
       1
  25
       None of the other attorneys at Ivie, McNeill & Wyatt have experience with use of
     force cases in the probation context. Only three other defense attorneys have
  26 meaningful experience in §1983 cases and all three are unavailable on February 27,

  27
     2020. Surely, if Plaintiff’s counsel were unavailable on the date that Defendants
     noticed the depositions of Krystal Reyes and Irie Reyes, Plaintiff’s counsel would
  28 vigorously object. Parties to a lawsuit are entitled to be represented at a deposition
     by the counsel of their choosing.
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Case 2:19-cv-05209-GW-KS Document 29 Filed 02/25/20 Page 6 of 8 Page ID #:340



   1   counsel represented that they would take both depositions in a single day).
   2         On February 14, 2020, Plaintiff’s counsel emailed defense counsel stating
   3   that March 6, 2020 was unacceptable for the depositions of Officer Stance and
   4   Officer Puente because it was on the discovery cut-off. Altura Decl. ¶ 13; exhibit
   5 H.     Inexplicably, Plaintiff suggested March 3 or March 4, but Defendant had

   6 already noticed the deposition of Krystal Reyes for March 4. See Altura Decl. ¶
       14. It is simply unclear why March 4, 2020 was acceptable to Plaintiff, but March
   7
       6, 2020 was not. Whether a deposition occurs on the fact discovery cut-off or two
   8
       days before the fact discovery cut-off is no matter—and Plaintiff cannot articulate
   9
       a reason for his arbitrary position.
  10
             In sum, there is good cause for a protective order to stay the depositions of
  11
       Officer Stance and Officer Puente for February 27, 2020 because defense counsel
  12
       gave timely notice of his unavailability and offered an alternative date within a
  13
       reasonable amount of time.
  14
       C.    The Court Should Stay the Depositions of Defendant’s Rule 30(b)(6)
  15         Witnesses
  16         The Court should stay the depositions of Defendant’s Rule 30(b)(6)
  17 witnesses because Defendants were not “give[n] reasonable written notice.” Fed.

  18 R. Civ. P. 30(b)(1).         “[T]en business days’ notice generally is considered

  19
       reasonable,” but there is no fixed rule as to what constitutes reasonable notice.
       Lucas v. Breg, Inc., No. 315CV00258BASNLS, 2015 WL 8328696, at *2 (S.D.
  20
       Cal. Dec. 8, 2015). The Lucas court concluded that seven days’ notice was not
  21
       reasonable. Id. The analysis is necessarily case-specific and fact-intensive and the
  22
       particular circumstances of a case may shorten or lengthen the amount of notice
  23
       that is considered reasonable. See Mason v. Silva, 2013 U.S. Dist. LEXIS 74801,
  24
       2013 WL 2338720 (S.D. Cal. May 28, 2013). Relevant circumstances include the
  25
       complexity of the case, how close the deposition is to discovery cut-off and how
  26
       “obvious-or at least probable-that the schedules of the deponents and a number of
  27
       lawyers would be unable to accommodate the belatedly filed notices.” Lucas,
  28   2015 WL 8328696 at *2.

                                              -4-
Case 2:19-cv-05209-GW-KS Document 29 Filed 02/25/20 Page 7 of 8 Page ID #:341



   1          Here, Defendants received a mere 8 business days’ notice of the Rule
   2   30(b)(6) witness. Altura Decl. ¶ 16; exhibit J. Defense counsel actually received
   3   the deposition notice on February 20, 2020, eight business days before the noticed
   4   date of March 3, 2020. Altura Decl. ¶ 16; exhibit J. While the proof of service
   5 declares under penalty of perjury that the deposition notice was placed in the mail

   6 on February 14, 2020, the date marked by the United States Post Office is February
       17, 2020. (Notably, Plaintiff used stamps from Stamps.com, which do not indicate
   7
       the date they were purchased, printed, or attached to the envelope.) Altura Decl. ¶¶
   8
       17, 18; exhibits J, K. Therefore the proofs of service are presumed invalid. See
   9
       Cal. Code Civ. Proc. 1013a; Iverson, 167 Cal. App. 3d at 548; In re R.R., 187 Cal.
  10
       App. 4th at 1276.
  11
              A Rule 30(b)(6) notice requires the noticed party to identify and designate
  12
       an individual who can testify to the matters in the notice. See Fed. R. Civ. P.
  13
       30(b)(6). The entity producing the Rule 30(b)(6) witness also has an obligation to
  14
       educate the witness to provide competent, binding testimony on the matters in the
  15   notice. See Louisiana Pac. Corp. v. Money Mkt. 1 Institutional Inv. Dealer, 285
  16   F.R.D. 481, 486 (N.D. Cal. 2012). Further, good lawyering requires that the Rule
  17   30(b)(6) witness be prepared for the deposition. A Rule 30(b)(6) witness is likely
  18   to be a senior official with a busy schedule and coordinating a time to meet is more
  19   challenging than for ordinary employees. Each of these steps can take a week to
  20   coordinate. See Altura Decl. ¶ 19. Here, Plaintiff gave a mere eight business days’
  21 notice despite knowing that defense counsel is extremely busy in February. Altura

  22 Decl. ¶ 20; exhibit L. That is plainly not reasonable written notice. The Court

  23 should stay the deposition of Defendant County of Los Angeles’ Rule 30(b)(6)

  24 witness.

  25
       III.   CONCLUSION
              Based on the foregoing, Defendants respectfully request that the Court grant
  26
       the ex parte applications and issue a protective order staying the depositions of
  27
       Officer Stance and Officer Puente. Defendants also respectfully request that the
  28


                                              -5-
Case 2:19-cv-05209-GW-KS Document 29 Filed 02/25/20 Page 8 of 8 Page ID #:342



   1   Court issue a protective order staying the deposition of Defendant’s Rule 30(b)(6)
   2   witnesses.
   3

   4   Dated: February 25, 2020                     IVIE, McNEILL & WYATT
   5
                                             By:   /s/ Jack F. Altura
   6                                               RICKEY IVIE,
   7                                               JACK F. ALTURA
                                                   Attorneys for Defendants
   8                                               COUNTY OF LOS ANGELES, et al.
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